                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF TENNESSEE
                                                 KNOXVILLE

  Case #: 3:17-CR-82                                          Date: February 1, 2018

                        United States of America   vs.   Randall Beane and Heather Tucci-Jarraf

  PROCEEDINGS: Jury Trial, Day 8.

      HONORABLE THOMAS A. VARLAN, CHIEF UNITED STATES DISTRICT JUDGE

  Julie Norwood                              Rebekah Lockwood          Cynthia Davidson/Ann Marie Svolto
  Deputy Clerk                               Court Reporter                    Asst. U.S. Attorney

  Francis Lloyd
  Elbow Counsel for pro se Defendant Tucci-Jarraf

  Stephen McGrath
  Elbow Counsel for pro se for pro se Defendant Beane


  ■       Jury returned to deliberate at 9:00 a.m., Jury returned at 11:00 a.m.
  ■       Jury verdict finding Randall Keith Beane guilty of Counts 1-7 and Heather Ann Tucci-Jarraf guilty of Count 7
  ■       Jury polled
  ■       Referred to USPO for presentence investigative report
  ■       Argument heard regarding remand of Heather Ann Tucci Jarraf. Defendant Tucci Jarraf is ordered taken into
          custody.

  Sentencing before the Honorable Thomas A. Varlan, Chief United States District Judge of Randall Keith Beane is set
          for June 12, 2018 @ 10:00 a.m.
  Sentencing before the Honorable Thomas A. Varlan, Chief United States District Judge of Heather Ann Tucci-Jarraf is
          set for June 26, 2018 @ 10:00 a.m.


  11:00 to 11:30




Case 3:17-cr-00082-TAV-CCS Document 117 Filed 02/01/18 Page 1 of 1 PageID #: 3491
